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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                         )
         In re:                                          )
                                                         )    Chapter 11
         Zohar III, Corp.,                               )
                                                         )    Case No. 18-10512 (CSS)
                                      Debtors.           )
         Tax I.D. No. XX-XXXXXXX                         )
                                                         )
         In re:                                          )
                                                         )    Chapter 11
         Zohar II 2005-1, Corp.,                         )
                                                         )    Case No. 18-10513 (CSS)
                                      Debtors.           )
         Tax I.D. No. XX-XXXXXXX                         )
                                                         )
         In re:                                          )
                                                         )    Chapter 11
         Zohar CDO 2003-1, Corp.,                        )
                                                         )    Case No. 18-10514 (CSS)
                                      Debtors.           )
          Tax I.D. No. XX-XXXXXXX                        )
                                                         )
         In re:                                          )
                                                         )    Chapter 11
         Zohar III, Limited,                             )
                                                         )    Case No. 18-10515 (CSS)
                                      Debtors.           )
          Tax I.D. No. XX-XXXXXXX                        )
                                                         )
         In re:                                          )
                                                         )    Chapter 11
         Zohar II 2005-1, Limited,                       )
                                                         )    Case No. 18-10516 (CSS)
                                      Debtors.           )
          Tax I.D. No. XX-XXXXXXX                        )
                                                         )
         In re:                                          )
                                                         )    Chapter 11
         Zohar CDO 2003-1, Limited,                      )
                                                         )    Case No. 18-10517 (CSS)
                                      Debtors.           )
          Tax I.D. No. XX-XXXXXXX                        )


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                 DEBTORS’ MOTION FOR AN ORDER, PURSUANT TO BANKRUPTCY
                  RULE 1015 AND LOCAL RULE 1015-1, AUTHORIZING THE JOINT
                    ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                Zohar III, Corp. and its above-captioned affiliated debtors and debtors in possession

         (collectively, the “Debtors”) hereby submit this motion (the “Motion”) for the entry of an order,

         substantially in the form attached hereto as Exhibit A (the “Proposed Order”), pursuant to Rule

         1015 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1

         of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

         for the District of Delaware (the “Local Rules”), authorizing the joint administration of the

         Debtors’ Chapter 11 cases and the consolidation thereof for procedural purposes only. In further

         support of this Motion, the Debtors respectfully represent as follows:

                                         JURISDICTION AND VENUE

                1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

         1334 and the Amended Standing Order of Reference from the United States District Court for the

         District of Delaware, dated as of February 29, 2012. This is a core proceeding pursuant to 28

         U.S.C. § 157(b)(2) and, pursuant to Local Rule 9013-1(f), the Debtors consent to entry of a final

         order by the Court in connection with this Motion to the extent it is later determined that the

         Court, absent consent of the parties, cannot enter final orders or judgments in connection

         herewith consistent with Article III of the United States Constitution.

                2.      Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                3.      The predicates for the relief sought herein are Bankruptcy Rule 1015 and Local

         Rule 1015-1.

                                                 BACKGROUND

                4.      On March 11, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for

         relief under Chapter 11 of the Bankruptcy Code. Contemporaneously, the Debtors moved for
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         joint administration of their Chapter 11 cases, for procedural purposes only, pursuant to

         Bankruptcy Rule 1015(b).

                 5.      No request for the appointment of a trustee or examiner has been made in these

         Chapter 11 cases, and no official committees have been appointed pursuant to section 1102 of

         the Bankruptcy Code.

                 6.      General information about the Debtors and the events leading up to the Petition

         Date can be found in the Declaration of Marc S. Kirschner in Support of Chapter 11 Petitions

         [Docket No. __] (the “Kirschner Declaration”) and the Declaration of Lynn Tilton in Support of

         Chapter 11 Petitions [Docket No. __] (the “Tilton Declaration”), each filed on March 12, 2018.1

                                                RELIEF REQUESTED

                 7.      By this Motion, the Debtors request entry of an order directing the joint

         administration of these Chapter 11 cases and the consolidation thereof for procedural purposes

         only.

                 8.      The Debtors also request that the Clerk of the United States Bankruptcy Court for

         the District of Delaware (the “Clerk of the Court”) maintain one file and one docket for all of the

         Debtors’ Chapter 11 cases, under the case number assigned to Debtor Zohar III, Corp., and that

         the caption of these Chapter 11 cases be modified to reflect their joint administration as follows:




         1
            Capitalized terms used but not otherwise defined herein shall have the meaning given to such terms in the
         Kirschner and Tilton Declarations.
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                        )
         In re:                                                         )      Chapter 11
                                                                        )
         Zohar III, Corp., et al.,1                                     )      Case No. 18-10512 (CSS)
                                                                        )
                                              Debtors.                  )      Jointly Administered
                                                                        )
         1
           The Debtors and the last four digits of their taxpayer identification number are as follows: Zohar III, Corp. (9612),
         Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar II 2005-1,
         Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 350 Fifth Avenue, c/o Goldin
         Associates, LLC, New York, NY 10118.

                  9.       The Debtors also seek the Court’s direction that a notation, substantially similar to

         the following, be entered on the docket of each Debtor, other than Debtor Zohar III, Corp., to

         reflect the joint administration of these Chapter 11 cases:

                           An order has been entered in accordance with Rule 1015(b) of the
                           Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                           Local Rules of Bankruptcy Practice and Procedure of the United
                           States Bankruptcy Court for the District of Delaware directing the
                           procedural consolidation and joint administration of the Chapter 11
                           cases of Zohar III, Corp., Zohar II 2005-1, Corp., Zohar CDO
                           2003-1, Corp., Zohar III, Limited, Zohar II 2005-1, Limited, and
                           Zohar CDO 2003-1, Limited. The docket in the Chapter 11 case of
                           Zohar III, Corp., Case No. 18-10512 (CSS), should be consulted
                           for all matters affecting this case.

                                                      BASIS FOR RELIEF

                  10.      Pursuant to Bankruptcy Rule 1015(b), if two or more petitions are pending in the

         same court by or against a debtor and an affiliate, “the court may order a joint administration of

         the estates.” Fed. R. Bankr. P. 1015(b). Local Rule 1015-1 similarly permits entry of such an

         order if the debtors demonstrate that joint administration “is warranted and will ease the

         administrative burden for the Court and the parties.” Del. Bankr. L.R. 1015-1. In these Chapter




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         11 cases, the Debtors are “affiliates,” as that term is defined in section 101(2) of the Bankruptcy

         Code. Accordingly, the Court may grant the relief requested herein.

                11.     Additionally, the joint administration of the Debtors’ respective estates is

         warranted and will ease the administrative burden on the Court and all parties in interest in these

         Chapter 11 cases. Joint administration will also permit the Clerk of the Court to utilize a single

         docket for all of the Chapter 11 cases, and to combine notices to creditors and other parties in

         interest in the Debtors’ respective cases.      Because there likely will be numerous motions,

         applications, and other pleadings filed in these cases that will affect all of the Debtors, joint

         administration will permit counsel for all parties in interest to include all of the Debtors’ cases in

         a single caption for the numerous documents that are likely to be filed and served in these cases.

         Joint administration will also enable parties in interest in all of the Debtors’ cases to stay

         apprised of all the various matters before the Court.

                12.     Joint administration will not prejudice or adversely affect the rights of the

         Debtors’ creditors because the relief sought herein is purely procedural and is not intended to

         affect substantive rights. Joint administration will also significantly reduce the volume of paper

         that otherwise would be filed with the Clerk of the Court, render the completion of various

         administrative tasks less costly, and provide for greater efficiencies.        Moreover, the relief

         requested by this Motion will also simplify supervision of the administrative aspects of these

         cases by the Office of the United States Trustee for the District of Delaware (the “U.S. Trustee”).

                13.     For these reasons, the Debtors submit that the relief requested herein is in the best

         interests of the Debtors, their estates, and creditors, and therefore should be granted.




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                                                      NOTICE

                14.     Notice of this Motion has been or will be provided to: (i) the U.S. Trustee; (ii) the

         Office of the United States Attorney for the District of Delaware; (iii) the Internal Revenue

         Service; (iv) counsel to the Patriarch Entities; (v) counsel to U.S. Bank, as indenture trustee; (vi)

         counsel to Alvarez Marsal Zohar Management, LLC; (vii) counsel to MBIA Insurance

         Company; and (viii) counsel to certain holders of notes issued by Zohar III, Limited. Notice of

         this Motion and any order entered hereon will be served in accordance with Local Rule

         9013-1(m). In light of the nature of the relief requested herein, the Debtors submit that no other

         or further notice is necessary.

                WHEREFORE, the Debtors request entry of the Proposed Order, granting the relief

         requested herein and such other and further relief as is just and proper.


         Dated: March 12, 2018                  YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                                /s/ Michael R. Nestor
                                                James L. Patton, Jr. (No. 2202)
                                                Robert S. Brady (No. 2847)
                                                Michael R. Nestor (No. 3526)
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                                                Proposed Counsel to the Debtors and Debtors in
                                                Possession




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